   Case 4:14-cv-00539-O Document 27 Filed 11/07/14                  Page 1 of 2 PageID 321



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION
                         _____________________________________


FREDRIC RUSSEL MANCE, JR. et al.,

VS.                                                   Civil Action No. 4:14-CV-00539-O

ERIC HOLDER, ATTORNEY GENERAL
OF THE UNITED STATES, and B. TODD
JONES, DIRECTOR, BUREAU OF
ALCOHOL, TOBACCO, FIREARMS &
EXPLOSIVES


                       DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                         MOTION FOR SUMMARY JUDGMENT

       Defendants hereby submit their response to Plaintiffs’ Motion for Summary Judgment

(ECF Nos. 21-23). The matters required by Local Civil Rule 56.4(a) are set forth in Defendants’

brief that is being filed concurrently with this response. Pursuant to the Court’s Order dated

October 23, 2014 (ECF No. 26), that brief will be a combined brief serving as both a response

brief and also as a reply in support of Defendants’ own pending Motion to Dismiss or for

Summary Judgment.

Dated: November 7, 2014                              Respectfully submitted,

                                                     JOYCE R. BRANDA
                                                     Acting Assistant Attorney General

                                                     SARAH R. SALDAÑA
                                                     United States Attorney

                                                      /s/ Lesley Farby
                                                     DIANE KELLEHER
                                                     Assistant Branch Director
                                                     DANIEL RIESS
                                                     LESLEY FARBY
                                                     Trial Attorneys

                                                 1
   Case 4:14-cv-00539-O Document 27 Filed 11/07/14                   Page 2 of 2 PageID 322



                                                      U.S. Department of Justice
                                                      Civil Division, Rm. 7220
                                                      20 Massachusetts Avenue, NW
                                                      Washington, D.C. 20530
                                                      Telephone: (202) 514-3481
                                                      Fax: (202) 616-8470
                                                      Email: lesley.farby@usdoj.gov
                                                      Attorneys for Defendants




                                 CERTIFICATE OF SERVICE

        On November 7, 2014, I electronically submitted the foregoing document with the clerk

of court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served all parties electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2) or the local rules.


                                                                /s/ Lesley Farby
                                                               Lesley Farby




                                                  2
